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         EXHIBIT 131

           REDACTED
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA




   UNITED STATES OF AMERICA, ET AL.,
               Plaintiffs,

         v.                                     Case No. 1:23-cv-00108 (LMB/JFA)

   GOOGLE LLC,
               Defendant.




                        EXPERT REPORT OF MARK A. ISRAEL


                                    January 23, 2024




                                HIGHLY CONFIDENTIAL
                             SUBJECT TO PROTECTIVE ORDER
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               HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER


  display advertising,”88 “ad exchanges for indirect open web display advertising,”89 and

  “advertiser ad networks for open web display advertising.”90

  147.   Prof. Lee is Plaintiffs’ market definition expert. 91 He concludes that the product markets

  delineated in the Complaint are relevant antitrust markets. 92 He also opines that both the world

  (excluding certain countries and regions) and the United States are relevant geographic markets

  for each product market.93 As I explain further below, Prof. Lee reaches his conclusions about

  the relevant product and geographic markets primarily on the basis of qualitative analysis of

  differences between products. He does not present any empirical estimates of substitution

  patterns or implement a hypothetical monopolist test.94

  148.   By focusing on narrow component-specific product markets, Plaintiffs’ market definition

  approach delineates boundaries that exclude important substitutes (described further below) in



  88     DOJ Complaint, § VI.B.1. See also DOJ Complaint, n. 4 (“The process described herein governs
         the sale of display ads on the ‘open web,’ meaning websites whose inventory is sold through ad
         tech intermediaries that offer inventory from multiple websites. Some websites, especially social
         media companies like Facebook and Snapchat, operate under a different ‘closed web’ (or ‘walled
         garden’) model in which inventory is sold directly to individual advertisers using a proprietary
         tool employed by that website. Other types of advertising distinct from open web display
         advertising include search ads (e.g., sponsored results in a search engine), video ads (e.g.,
         commercials that play before, during, or after a streaming video), and mobile app ads (e.g., ads
         shown within a game or other non-browser app downloaded from an app store to a user’s mobile
         device).” (emphasis in the original)).
  89     DOJ Complaint, § VI.B.2.
  90     DOJ Complaint, § VI.B.3.
  91     Lee Report, § IV.
  92     Lee Report, ¶ 244.
  93     Lee Report, ¶ 244.
  94     Prof. Lee asserts that observed substitution patterns “
                                              ” (Lee Report, ¶ 251). However, as I explain further below,
         advertisers seek to reach their target audience wherever that audience can be found. There is no
         reason to think that this basic feature of digital advertising holds only at “high” prices for open
         web display.


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  199.   Large advertisers account for a majority of ad spend on both “advertiser ad networks”

  and DSPs, and thus competition for large advertisers provides strong competitive discipline that

  benefits all advertisers.208 Specifically, Table 2 below shows that the majority of Google Ads

  display spending is accounted for by advertisers who spend a significant amount of money on

  advertising. For example,       percent of Google Ads display spending in 2022 was accounted for

  by advertisers who spent more than $100,000 (in addition to any additional spending via other

  tools), and       percent was accounted for by advertisers who spent more than $1 million .

  Although many small advertisers use Google Ads (more than                      advertiser accounts

  spent less than           in 2022), the spending on Google Ads is predominantly driven by large

  advertisers (those advertisers spending less than $10,000 in 2022 collectively accounted for more

  than    percent of the advertisers, but less than               of total spend on Google Ads).




  208    That is, pricing on “advertiser ad networks” reflects competition for marginal dollars, and if
         larger, sophisticated buyers—who make up the vast majority of spending on ad networks—find
         DSPs to be a credible option, then the easy ability for those buyers to substitute creates
         competition with DSPs for those marginal dollars, meaning DSPs should be in the market.


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  374.    Although the United States is the appropriate geographic market to examine in this case,

  as explained above, my conclusions that Google lacks monopoly power and that its challenged

  conduct has not harmed competition do not depend on whether the relevant geographic market is

  the United States or worldwide. The empirical analysis in the main body of this report primarily

  focuses on U.S. data, both because that is the appropriate geographic market and because the

  available U.S. data are generally more comprehensive than the available worldwide data (and are

  therefore better suited for analyzing the competitive environment). My backup materials contain

  key empirical results demonstrating that all my conclusions hold in a worldwide geographic

  market (e.g., that measures of Google’s share do not support a finding of monopoly power , that

  indicators of market performance demonstrate a well-functioning market with rising output and

  flat or falling prices, etc.).


  V.      GOOGLE DOES NOT HAVE MONOPOLY POWER

  375.    Plaintiffs allege that Google possesses monopoly power in each of their alleged relevant

  markets described in the prior section. 470 Obviously, to the extent those market definitions are

  invalid—as I have shown above—claims of monopoly power in the alleged markets likewise

  fail. Plaintiffs’ expert Prof. Lee does not directly conclude that Google has monopoly power, but

  rather states that he “



         ”471 When I refer to Google not having “monopoly power” in the subsequent discussion,



  470     DOJ Complaint, ¶ 287 (alleging that “Google has exploited its monopoly power over DFP” in the
          alleged market for publisher ad servers), ¶ 296 (alleging that Google has monopoly power in the
          alleged market for ad exchanges), and ¶ 301 (alleging that Google has monopoly power in the
          alleged market for “advertiser ad networks”).
  471     Lee Report, ¶ 408.


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